                                            UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ALABAMA
                                                   NORTHERN DIVISION

IN RE:                                                                      )
JAMES WILSON McMEANS, JR.                                                   )            CASE NO. 18-82525-CRJ12
                                                                            )                 CHAPTER 12
            DEBTOR.                                                         )

                                       MOTION FOR ADMISSION PRO HAC VICE

        Mark P. Williams, a member of the bar of this Court, moves for the admission pro hac vice
of Brian W. Hockett who maintains an office at Thompson Coburn LLP, One US Bank Plaza, St.
Louis, Missouri 63101 to represent Monsanto Company, a creditor and interested party in interest,
in the above-captioned matter. The proposed admittee is admitted to practice and is in good
standing in the United States Court of Appeals for the Seventh and Eighth Circuits; the United
States District Courts for the Central, Northern and Southern Districts of Illinois; the United States
District Court for the District of Kansas; the United States District Courts for the Eastern and
Western Districts of Missouri; the United States District Court for the District of Wisconsin; and in
the courts of the States of Illinois and Missouri. A Certificate of Good Standing for the proposed
admittee is attached.

            Respectfully submitted this the 30th day of October, 2018.

                                                                                         /s/Mark P. Williams
                                                                                         ______________________________
                                                                                         Mark P. Williams, Attorney for
                                                                                         Monsanto Company

OF COUNSEL:

NORMAN, WOOD, KENDRICK AND TURNER
Ridge Park Place, Suite 3000
1130 22nd Street South
Birmingham, AL 35205
(205) 328-6643
                             CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of October, 2018 I filed the foregoing electronically;
and that I have served a copy of the foregoing via the CM/ECF system which provides service to all
counsel of record.

                                                                                         /s/Mark P. Williams
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                                                                                         OF COUNSEL
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